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                                                           EXHIBIT 1




              Financial Crimes Enforcement Network
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Introduction
The purpose of the Suspicious Activity Report (SAR) is to report known or suspected violations
of law or suspicious activity observed by financial institutions subject to the regulations of the
Bank Secrecy Act (BSA). In many instances, SARs have been instrumental in enabling law
enforcement to initiate or supplement major money laundering or terrorist financing
investigations and other criminal cases. Information provided in SAR forms also presents the
Department of the Treasury’s Financial Crimes Enforcement Network (FinCEN) with a method
of identifying emerging trends and patterns associated with financial crimes. The information
about those trends and patterns is vital to law enforcement agencies and provides valuable
feedback to financial institutions.1

Financial institutions are required to submit SAR forms that are complete, sufficient and timely
filed. Unfortunately, some financial institutions file SAR forms that contain incomplete,
incorrect, and/or disorganized narratives, making further analysis difficult, if not impossible.
Some SAR forms are submitted with blank narratives. The failure to adequately describe the
factors making the transaction or activity suspicious undermines the very purpose of the SAR
and lessens its usefulness to law enforcement. Because the SAR narrative serves as the only free
text area for summarizing suspicious activity, it is essential that financial institutions’ staff write
narratives that are clear, concise, and thorough.

Also, late filings, absence of supplementary SARs, and/or inaccuracies in SARs have an impact
upon law enforcement’s ability to determine whether a crime was committed or continues to be
committed, and the extent of any possible criminal activity that has been committed. Therefore,
it is imperative that financial institutions not only file complete and sufficient SARs but that
those SARs are filed within the established deadlines.2

Many different financial industries are now required to file SARs. Each SAR form was
specifically designed to accommodate respective institution types [e.g., depository institutions,
money services businesses (MSBs), securities sector, etc.]. Despite the fact that these industries
use different SAR formats, the basic structure for a SAR narrative remains the same. The
purpose of Guidance on Preparing A Complete & Sufficient Suspicious Activity Report Narrative
is to educate SAR filers on how to organize and write narrative details that maximizes the value
of each SAR form by:

      •    using a simple methodology for evaluating and reporting information for the SAR
           narrative and why it is important;



1
    FinCEN provides feedback to financial institutions in the form of advisories, bulletins and other publications such
    as The SAR Activity Review – Trends, Tips & Issues and By the Numbers.
2
    A financial institution is required to file a SAR no later than 30 calendar days after the date of initial detection of
    facts that may constitute a basis for filing a SAR. If no suspect was identified on the date of detection of the
    incident requiring the filing, a financial institution may delay filing a SAR for an additional 30 calendar days to
    identify a suspect. In no case shall reporting be delayed more than 60 calendar days after the date of initial
    detection of a reportable transaction.


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   •   providing a general guideline on how to organize the SAR narrative so that critical details
       are concise and follow a logical order of presentation; and

   •   providing respective industries with examples of sufficient and insufficient SAR
       narratives.

Information presented in this guidance document should be used in conjunction with the
instructions provided with the appropriate SAR forms, guidance provided in other FinCEN
publications (such as The SAR Activity Review – Trends, Tips & Issues, FinCEN Advisory Issue
33: Informal Value Transfer Systems), and respective industry advisories from the federal
regulatory authorities. The information in Guidance on Preparing A Complete & Sufficient
Suspicious Activity Report Narrative is provided solely to assist respective financial institutions
in strengthening existing due diligence initiatives and anti-money laundering programs.




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Collecting Information for the SAR Narrative

FinCEN provided some of this information in Issue 2 of The SAR Activity Review (June 2001).
Additional information is being provided to address the unique challenges of the securities
industry and state-of-the-art communication mechanisms that are commonly employed by
criminals to facilitate the movement of funds.

The information generated from SAR filings plays an important role in identifying potential
illegal activities such as money laundering and terrorist financing, and assists law enforcement in
detecting and preventing the flow of illicit funds through our financial system. It is critical that
the information provided in a SAR filing be as accurate and complete as possible. The SAR
form should include any information readily available to the filing institution obtained through
the account opening process and during due diligence efforts.

In general, a SAR narrative should identify the five essential elements of information – who?
what? when? where? and why? – of the suspicious activity being reported. The method of
operation (or how?) is also important and should be included in the narrative.

Who is conducting the suspicious activity?

While one section of the SAR form calls for specific suspect information,3 the narrative should
be used to further describe the suspect or suspects, including occupation, position or title within
the business, and the nature of the suspect’s business(es). If more than one individual or
business is involved in the suspicious activity, identify all suspects and any known relationships
amongst them in the Narrative Section. While detailed suspect information may not always be
available (e.g., in situations involving non-account holders), such information should be included
to the maximum extent possible. Addresses for suspects are important; filing institutions should
note not only the suspect’s primary street addresses, but also, other known addresses, including
any post office box numbers and apartment numbers when applicable. Any identification
numbers associated with the suspect(s) other than those provided earlier are also beneficial, such
as passport, alien registration, and driver’s license numbers.

What instruments or mechanisms are being used to facilitate the suspect transaction(s)?

An illustrative list of instruments or mechanisms that may be used in suspicious activity
includes, but is not limited to, wire transfers, letters of credit and other trade instruments,
correspondent accounts, casinos, structuring, shell companies, bonds/notes, stocks, mutual funds,
insurance policies, travelers checks, bank drafts, money orders, credit/debit cards, stored value
cards, and/or digital currency business services.

3
    Specific suspect identifying information is provided in Part II of the depository institution Suspicious Activity
    Report (SAR/TD F 90-22.47) and in Part I of the Suspicious Activity Report by Money Services Business (SAR-
    MSB/TD F 90-22.56), Suspicious Activity Report by the Securities and Futures Industries (SAR-SF
    Form/FinCEN Form 101), and the Suspicious Activity Report by Casinos and Card Clubs (SAR-C/FinCEN
    Form 102).


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In addition, a number of different methods may be employed for initiating the negotiation of
funds such as the Internet, phone access, mail, night deposit box, remote dial-up, couriers, or
others. In summarizing the flow of funds, always include the source of the funds (origination)
that lead to the application for, or recipient use of, the funds (as beneficiary). In documenting the
movement of funds, identify all account numbers at the financial institution affected by the
suspicious activity4 and when possible, provide any account numbers held at other institutions
and the names/locations of the other financial institutions, including MSBs and foreign
institutions involved in the reported activity.

When did the suspicious activity take place?

If the activity takes place over a period of time, indicate the date when the suspicious activity
was first noticed and describe the duration of the activity. Filers will often provide a tabular
presentation of the suspicious account activities (transactions in and out). While this information
is useful and should be retained, do not insert objects, tables, or pre-formatted spreadsheets when
filing a SAR. These items may not convert properly when keyed in or merged into the SAR
System. Also, in order to better track the flow of funds, individual dates and amounts of
transactions should be included in the narrative rather than just the aggregated amount.

Where did the suspicious activity take place?

Use the Narrative Section to indicate that multiple offices of a single financial institution were
involved in the suspicious activity and provide the addresses of those locations.

Specify if the suspected activity or transaction(s) involve a foreign jurisdiction. If so, provide
the name of the foreign jurisdiction, financial institution, address and any account numbers
involved in, or affiliated with the suspected activity or transaction(s).

Why does the filer think the activity is suspicious?

We suggest that you first describe briefly your industry or business – depository institution,
casino, mortgage broker, securities broker, insurance, real estate, investment services, money
remitter, check casher, etc. Then describe, as fully as possible, why the activity or transaction is
unusual for the customer; consider the types of products and services offered by your industry,
and the nature and normally expected activities of similar customers.




4
    When the number of accounts exceeds the number of account blocks on the respective SAR form, use the
    Narrative Section of the SAR to identify the additional accounts and any other information that cannot be placed
    in other sections of the SAR form.


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Examples of some common patterns of suspicious activity are:

   •   a lack of evidence of legitimate business activity, or any business operations at all,
       undertaken by many of the parties to the transaction(s);

   •   unusual financial nexuses and transactions occurring among certain business types (e.g.,
       food importer dealing with an auto parts exporter);

   •   transactions that are not commensurate with the stated business type and/or that are
       unusual and unexpected in comparison with the volumes of similar businesses operating
       in the same locale;

   •   unusually large numbers and/or volumes of wire transfers and/or repetitive wire transfer
       patterns;

   •   unusually complex series of transactions indicative of layering activity involving multiple
       accounts, banks, parties, jurisdictions;

   •   suspected shell entities;

   •   bulk cash and monetary instrument transactions;

   •   unusual mixed deposits of money orders, third party checks, payroll checks, etc., into a
       business account;

   •   transactions being conducted in bursts of activities within a short period of time,
       especially in previously dormant accounts;

   •   transactions and/or volumes of aggregate activity inconsistent with the expected purpose
       of the account and expected levels and types of account activity conveyed to the financial
       institution by the accountholder at the time of the account opening;

   •   beneficiaries maintaining accounts at foreign banks that have been subjects of previous
       SAR filings;

   •   parties and businesses that do not meet the standards of routinely initiated due diligence
       and anti-money laundering oversight programs (e.g., unregistered/unlicensed businesses);

   •   transactions seemingly designed to, or attempting to avoid reporting and recordkeeping
       requirements; and




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      •   correspondent accounts being utilized as “pass-through” points by foreign jurisdictions
          with subsequent outgoing funds to another foreign jurisdiction.5

How did the suspicious activity occur?

Use the Narrative Section to describe the “modus operandi” or the method of operation of the
subject conducting the suspicious activity. In a concise, accurate and logical manner, describe
how the suspect transaction or pattern of transactions was committed. Provide as completely as
possible a full picture of the suspicious activity involved. For example, if what appears to be
structuring of currency deposits is matched with outgoing wire transfers from the accounts, the
SAR narrative should include information about both the structuring and outbound transfers
(including dates, destinations, amounts, accounts, frequency, and beneficiaries of the funds
transfers).




5
    Other examples of suspicious activity may be found in previously published FinCEN Advisories, SAR Bulletins,
    and editions of The SAR Activity Review – Trends, Tips & Issues, all which may be found on the FinCEN website,
    www.fincen.gov. Also, some BSA Examination Manuals issued by the federal financial regulatory authorities
    include lists of potential suspicious activity. For example, refer to Section 1001.0 of the Federal Reserve Board’s
    BSA Examination Manual (September 1997), www.federalreserve.gov/boarddocs/supmanual; page 12-18 of the
    OCC’s BSA/Anti-Money Laundering Comptroller’s Handbook (September 2000),
    www.occ.treas.gov/handbook/compliance.htm; or Attachment 18.1 of Chapter 18 in the National Credit Union
    Administration’s Examiner’s Guide, www.ncua.gov/ref/examiners_guide/. The other regulatory authorities
    [Federal Deposit Insurance Corporation (FDIC), Office of Thrift Supervision (OTS), Securities and Exchange
    Corporation (SEC), and the Internal Revenue Service (IRS)] may also provide guidance to you.


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Organizing Information in the SAR Narrative

When all applicable information is gathered, analyzed, and documented and the financial
institution decides that a SAR is required, the information should be described in the SAR
Narrative in a concise and chronological format. Include all elements of the five W’s (Who?
What? When? Where? and Why?) previously discussed in Section 1 of this document, as well
as any other information that can assist law enforcement.

We suggest that you divide the narrative into three sections: an introduction, a body, and a
conclusion.

Introduction:

The introductory paragraph can provide:

   •    the purpose of the SAR and a general description of the known or alleged violation [In
        some instances, this might warrant mentioning at the outset the type of suspicious activity
        being observed, such as Informal Value Transfer System (IVTS) operations, smurfing,
        shell entities, complex layering activities, structuring, check kiting, embezzlement, etc.];

   •    the date of any SAR(s) filed previously on the suspect or related suspects and the reason
        why the previous SAR(s) was filed;

   •    whether the SAR is associated with the Office of Foreign Assets Control’s (OFAC)
        sanctioned countries or Specially Designated Nationals and Blocked Persons or other
        government lists for individuals or organizations;

   •    any internal investigative numbers used by the financial institution which may be a point
        of reference for law enforcement should the investigators wish to contact the institution;
        and

   •    a summary of the “red flags” and suspicious patterns of activity that initiated the SAR.
        (This information should be provided either in the introduction or conclusion of the
        narrative.)

Body:

The next paragraph or paragraphs of the narrative can provide all pertinent information −
supporting why the SAR was filed and might include:

   •    any and all relevant facts about the parties (individuals and businesses) who facilitated
        the suspicious activity or transactions. Include any unusual observations such as
        suspected shell entities; financial activities which are not commensurate with the
        expected normal business flows and types of transactions; unusual multiple party


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       relationships; customer verbal statements; unusual and/or complex series of transactions
       indicative of layering; lack of business justification and documentation supporting the
       activity; etc.;

   •   a specific description of the involved accounts and transactions, identifying if known,
       both the origination and application of funds (usually identified in chronological order by
       date and amount);

   •   breaking out larger volumes of financial activity into categories of credits and debits, and
       by date and amount;

   •   transactor and beneficiary information, providing as much detail as possible, including
       the name and location of any involved domestic and/or international financial
       institution(s); names, addresses, account numbers, and any other available identifiers of
       originator and beneficiary transactor(s) and/or third parties or business entities on whose
       behalf the conductor was acting; the date(s) of the transaction(s); and amount(s);

   •   an explanation of any observed relationships among the transactors (e.g., shared
       accounts, addresses, employment, known or suspected business relationships and/or
       frequency of transactions occurring amongst them; appearing together at the institution
       and/or counter);

   •   specific details on cash transactions that identify the branch(es) where the transaction(s)
       occurred, the type of transaction(s), and how the transaction(s) occurred (e.g., night
       deposit, on-line banking, ATM, etc.); and

   •   any factual observations or incriminating statements made by the suspect.

Conclusion:

The final paragraph of the narrative can summarize the report and might also include:

   •   information about any follow-up actions conducted by the financial institution (e.g.,
       intent to close or closure of accounts, ongoing monitoring of activity, etc.);

   •   names and telephone numbers of other contacts at the financial institution if different
       from the point of contact indicated in the SAR;

   •   a general description of any additional information related to the reported activity that
       may be made available to law enforcement by the institution; and

   •   names of any law enforcement personnel investigating the complaint who are not already
       identified in another section of the SAR.


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Important Reminder:

Please do not include any supporting documentation with your filed report nor use the terms
“see attached” in the Narrative Section. When SAR forms are received at the IRS Detroit
Computing Center (DCC), only information that is in an explicit, narrative format is
keypunched; thus, tables, spreadsheets or other attachments are not entered into the SAR System
database. Keep any supporting documentation in your institution’s records for five years. Law
enforcement will contact you at the appropriate time to review any additional information.




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Appendices




Examples of Sufficient and Insufficient SAR Narratives
In an effort to provide helpful guidance to financial institutions, FinCEN reviewed the SAR
System database to identify previously submitted SARs that contained sufficient and complete
narratives as well as insufficient or incomplete narratives. We are providing examples of
sanitized sufficient and insufficient SARs submitted from different types of industries currently
required to file SARs (depository institutions, MSBs, brokers or dealers in securities, and casinos
and card clubs) as well as a few hypothetical SARs for illustration. Each example is followed by
a brief commentary on the narrative.




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Examples of SARs Filed by
Depository Institutions

Sufficient and Complete Depository Institution SAR Narratives

Example #1

     Investigation case number: A5678910. The customer, a grocery store and
     its owner, are suspected of intentionally structuring cash deposits to
     circumvent federal reporting requirements.          The customer is also
     engaged in activity indicative of an informal value transfer operation:
     deposits of bulk cash, third party out of state personal checks and money
     orders, and engaging in aggregate wire transfers to Dubai, UAE. The
     type and volume of activity observed is non-commensurate with the
     customer’s expected business volume and deviates from the normal
     volume of similar types of businesses located in the same area as the
     customer. Investigative activities are continuing. Our bank has elected to
     directly contact law enforcement concerning this matter along with filing
     this SAR.

     John Doe opened a personal checking account, #12345-6789, in March
     of 1994. Doe indicated that he was born in Yemen, presented a Virginia
     driver's license as identification, and claimed he was the self-employed
     owner of a grocery store identified as Acme, Inc. A business checking
     account, #23456-7891, was opened in January of 1998 for Acme, Inc.

     Between January 17, 2003, and March 21, 2003, John Doe was the
     originator of nine wires totaling $225,000. The wire transfers were always
     conducted at the end of each week in the amount of $25,000. All of the
     wires were remitted to the Bank of Anan in Dubai, UAE, to benefit
     Kulkutta Building Supply Company, account #3489728.

     Reviews covering the period between January 2 and March 17, 2003,
     revealed that 13 deposits (consisting of cash, checks, money orders)
     totaling approximately $50,000 posted to the personal account. Individual
     amounts ranged between $1,500 and $9,500 and occurred on
     consecutive business days in several instances. A number of third-party
     out of state checks and money orders were also deposited into the
     account.

     A review of deposit activity on the Acme, Inc. account covering the same
     period revealed 33 deposits (consisting of cash, checks, money orders)
     totaling approximately $275,000. Individual amounts ranged between
     $4,446 and $9,729; however 22 of 33 deposits ranged between $9,150



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       and $9,980. It was further noted that in nine of 13 instances in which
       cash deposits were made to both accounts on the same day, the
       combined deposits of cash exceeded $10,000. The bank filed currency
       transaction reports to the IRS for all aggregate daily transactions
       exceeding $10,000.

       A search of the world wide web identified a website for Acme, Inc., which
       identified the company as a grocery store that provides remittance
       services to countries in the Middle East that includes Iran (an OFAC
       blocked country). Contact with the Virginia State Department of Banking
       indicates Acme, Inc. is not a licensed money wire transfer business. The
       bank will close this account because of the suspect nature of the
       transactions being conducted by John Doe.

Comments:

This narrative is a well-written summary of all the suspicious activity and supports the stated
purpose for filing the SAR. Furthermore, the narrative provides an internal bank reference
number for the SAR that can be used by law enforcement should investigators wish to contact
the bank to discuss pertinent facts presented in the narrative. Specific information is also
provided in the narrative that details the source and application of suspect funds. The SAR also
identifies other actions taken by the financial institution as part of its internal due diligence
program and its efforts in detecting possible illegal activity being facilitated by the suspect.


Example #2

       Doe’s Auto Sales, commercial checking account #1234567, is being
       reported for unusual activity and structured cash deposits. Doe’s Auto
       Sales operates as a small used car lot with an inventory of less than 10
       vehicles at any given time. John Doe is the owner of Doe’s Auto Sales
       and a signer on the account. Jane Doe is an additional signer. The
       account was opened in September 2002 at the Happy Valley branch in
       Anytown, CA.
       Account activity is usually extremely limited and several months involve
       periods of no account activity. However, many suspicious and structured
       transactions were conducted in June 2003 at two different bank branches
       in Anytown. The cash deposits were conducted in a manner possibly to
       avoid filing a currency transaction report. The structured cash deposits
       were always conducted for $9,800 each. Immediately following each
       deposit, a check for $9,800 posted to the account, payable to Doe’s Auto
       Sales. Those checks were deposited to an account at XYZ Bank, also
       located in Anytown. Structured cash deposits conducted in June 2003
       were as follows: 06/03 $9,800; 06/04 $9,800; 06/09 $9,800; 06/10 $9,800;
       06/11 $9,800; and 06/12 $9,800. The deposits on 06/03, 06/09, and
       06/11 were completed at the Happy Valley branch by John Doe. The
       remaining deposits, on 06/04, 06/10, and 6/12, were conducted by Jane


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       Doe at the Main Office branch. The source of the cash deposited to the
       account is unknown.
       Checks posting to the account payable to Doe’s Auto Sales and
       deposited at XYZ bank were as follows: 06/04 $9,800; 06/05 $9,800;
       06/10 $9,800; 06/11 $9,800, 06/12 $9.800; and 06/13 $9.800. It is
       unknown what happened to the funds after the deposits to XYZ Bank.
       Due to the pattern and manner of recent transactions, it appears that the
       cash deposits to credit Doe’s Auto Sales were structured to evade the
       reporting requirement of the Bank Secrecy Act.          Additionally, the
       immediate movement of funds out of the bank to another financial
       institution in amounts slightly below $10,000 seems unusual. A review of
       prior transactions since the account opened revealed no similar type of
       activity or in such amounts. Therefore, this suspicious activity report is
       being submitted.
       The bank will continue to monitor the account for further activity and file a
       supplemental SAR if required.
       All documentation obtained during this investigation is located in the case
       file, case #03-501, maintained by the bank's anti-money laundering
       department. Additional branch location address: Main Office branch- 100
       West Happy Valley Street, Anytown, CA 12345.

Comments:

Facts presented in this SAR narrative clearly support the purpose of the SAR filing and also
provide a disposition on further actions by the financial institution. The location of
documentation supporting the SAR is identified. The institution provides information related to
previous banking activity and identifies the dates, amounts, and locations of specific transactions
to establish the pattern of structured transactions.


Example #3

       Bank investigation file number AA67325.

       This SAR is being filed to summarize suspicious cash deposits and wire
       transfer activity conducted by John Doe, account #12345678910. John
       Doe has been a bank customer since April 2000. Mr. Doe is a college
       student and employed part-time at Quickie Car Wash.

       Cash deposits to Mr. Doe’s personal checking account are structured to
       possibly circumvent federal reporting requirements. The deposits are
       followed by immediate wire transfers to Aussie Bank in Sydney, Australia
       to a single beneficiary, Jennifer Doe, account #981012345, with an
       address located in Australia. Specifically the following activity has been
       observed: cash deposits (dates followed by amounts): 03/15/02


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       $9,950.00; 03/17/02 $9,700.00; 03/18/02 $10,000; total: $29,650. Wire
       transfers out (dates followed by amounts): 03/16/02 $9,900.00, 03/18/02
       $9,700.00, 03/19/02 $9,900.00. The volume and frequency of the
       deposits is not consistent with previous banking transactions conducted
       by Mr. Doe. The amounts of currency do not appear consistent with the
       customer’s stated employment. Also, the relationship between the
       customer and Jennifer Doe and the purpose for the wire activity is
       unknown.

       Therefore, due to the structured cash deposits by the customer on almost
       consecutive days into the account, and the immediate wire transfer of the
       funds out of the account to Jennifer Doe, Aussie bank, account
       #891012345, Sydney Australia, this SAR is being filed. Investigation is
       continuing.

       The bank’s financial intelligence unit in Big City, FL, maintains all records
       related to this SAR.

Comments:

The narrative provides a sufficient explanation for the SAR filing in addition to providing an
internal bank file number for law enforcement to reference if it wishes to contact the depository
institution. Facts presented in the SAR narrative clearly support the purpose of the SAR filing.
The narrative includes information on disposition on further actions by the financial institution
and identifies the availability and location of documentation supporting the SAR.


Example #4

       The Bank of Mainland (BM) filed an initial suspicious activity report (SAR)
       dated 6/11/01. The SAR was filed due to unusual wire transfer and cash
       deposit activity involving two BM corporate customers, Sky Corporation
       and Sea Corporation, both registered in Vermont and having a common
       Vermont address. BM has also filed numerous CTRs on cash deposits
       conducted on behalf of the two companies. Our previous and recent
       reviews of the customers’ activities revealed the cash deposits and wire
       transfers involving the companies might be consistent with money
       laundering.

       Because BM was unable to determine any particulars about the
       companies in order to establish a business justification for the activity, the
       following patterns appeared suspicious:

       1. A repeating pattern of structured cash deposits into business
          accounts held by the companies with wire transfers to a particular
          beneficiary.
       2. Individual transactions conducted in large dollar amounts.


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3. Individual transactions conducted in even dollar amounts.
4. Individual transactions conducted within a short period of time (i.e.,
   daily basis, 2x's daily, every other day).
5. Periodic incoming wire transfers from a foreign corporation via a
   correspondent account maintained by a foreign bank at Bank of
   Mainland.

Specifically, the analysis of the cash deposit and wire activity for the
period 2/2/99 through 6/20/01 revealed the following:

1. The Vermont companies are as follows: Sky Corporation and Sea
   Corporation, both of 1234 North Harvard Street, Suite 81, in
   Burlington, Vermont.

2. The total number and dollar value of cash deposits into accounts held
   by the companies are as follows: Sky Corporation, account
   #54321098, 284 deposits totaling $2,710,000; Sea Corporation,
   account #12345678, 200 deposits totaling $1,900,000. Reviews of
   the accounts indicate all the deposits were night deposits conducted
   through three main branches of BM: North Burlington; South
   Burlington; and West Burlington. The average amount of deposits
   negotiated through account #12345678 was from $8,720 to $16,500.
   Many of the transactions conducted on the same day at multiple
   branches in amounts under $10,000 may have been conducted to
   circumvent federal reporting requirements.

3. 15 incoming wire transfers were received from Tolinka Inc. affecting
   account #12345678. Tolinka Inc. is registered in Utah and is a
   customer of Bank XYZ in Warsaw, Poland, account #689472. Bank
   XYZ maintains a correspondent relationship with the Bank of Poland.
   The Bank of Poland, in turn, maintains a correspondent account at
   BM. As part of BM’s due diligence of foreign wire transactions, we
   contacted Bank of Poland to have them inquire with Bank XYZ about
   Tolinka Inc. Bank XYZ could not substantiate the type of business
   activity or provide any documentation for Tolinka Inc. Bank XYZ’s
   contact with Tolinka Inc. in response to our query resulted in the
   business closing its account with Bank XYZ with no explanation
   provided.

4. The total number and dollar value of outgoing wire transfers from Sky
   Corporation and Sea Corporation is as follows: Sky Corporation,
   account #5431098, 274 wire transfer debits totaling $2,697,000; Sea
   Corporation, account #12345678, 198 wire transfer debits totaling
   $1,866,000. The day after cash deposits, wire transfers were usually
   conducted through the use of a remote computer terminal as part of
   an Internet service for the accounts. The amount of wire transfers
   usually equaled the aggregate of deposits from the day before. All



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           wire transfers from both accounts were remitted to Paul Lafonte, Artsy
           Bank, account #456781234, in Paris, France.

           At the time the accounts were opened with our financial institution, a
           registered agent for both companies provided corporate filings filed
           with the Secretary of State of Vermont indicating the companies are
           for-profit, engaged in retail shoe sales. As part of our annual review
           of corporate accounts, we were unable to substantiate if the
           companies are still active from researching public records,
           commercial database systems, or the Internet. Attempted telephone
           contact with the companies identified both numbers as being
           disconnected. The companies do not appear to maintain operating
           businesses in Vermont; and there is no indication of legitimate
           business activity.

           Due to these factors and the suspicious demeanor of the account
           activity, bank management has decided to end our banking
           relationships with Sky Corporation and Sea Corporation. All records
           related to this matter are being maintained by the bank’s central
           branch operations officer in Burlington, VT.

Comments:

The narrative is a well-written summary identifying all aspects of the suspicious transactions
conducted by the suspect businesses including the apparent structuring of cash deposits on
multiple days at multiple branch locations, the use of a foreign account to facilitate wire transfers
to the customer’s accounts through a correspondent bank, and the use of online transactions to
effect outgoing wire transfers. The depository institution documents its due diligence efforts to
determine the status and operations of its suspicious customers as well as its efforts to glean
information about the originator of the suspicious wire transfers. The financial institution
indicates that CTRs (Currency Transaction Reports) and a SAR were filed previously. The
institution conveys the disposition of the two accounts and the location where records are stored.
(Note: Because of the volume of activity summarized in the narrative, a detailed listing of check
numbers, senders, etc. is included in the originally filed SAR but omitted for the purpose of
maintaining some brevity within the narrative for this report.)




Insufficient or Incomplete Depository Institutions SAR Narratives

Example #1

       John Doe was the originator of nine wires totaling $225,000. All of the
       wires were remitted to a Dubai based company. During the same period
       of time John Doe deposited cash, money orders, and checks into his
       account. See attachment.



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Comments:

This SAR fails to provide specific details on the application of the suspect funds (the name,
bank, and account number of the beneficiary, if identifiable). The SAR also references an
attachment, which is not available to the reader since supporting documents are not entered into
the SAR System database. (Please remember that attachments should not be sent with the
SAR. Rather, any supporting documentation should be described in the SAR narrative
and retained with the financial institution’s case file.) The depository institution fails to
provide any information concerning the relationship, if any, between the institution and the
customer. Also, no specific transaction data is provided that identifies the dates and amounts of
each wire transfer.


Example #2

       A.) Copy of the questionable activity report (QAR) from Bank Secrecy Act
       Department outlining the suspected structuring of cash-in activity by our
       customer, Management Services, a management company for the period
       of 07/10/02 to 07/22/02. B.) Management Services, financially, via the
       suspected structuring of cash-in activity to avoid CTR reporting. C.) N.A.
       D.) See A. above. E.) N.A. F.) Downtown branch, 25 E. Third Street,
       Anytown, SD 12345. G.) The activity consisted of 4 transactions for the
       month of July 2002. H.) N.A. I.) N.A. J.) To the best of my knowledge,
       no information has been excluded from this report. K.) Currency was
       involved. L.) 224-307711.

Comments:

Although the bank responds to the checklist found in the SAR instructions, it fails to provide a
chronological and complete account of the violation of law in order to explain the nature of the
suspicious activity. The SAR fails to identify specific examples of the structuring activity,
including dates and amounts of the transactions. Additionally, the filing bank does not explain if
the deposits were consistent with the expected transactions of the business. Finally, the narrative
does not identify what happened to the funds after they were deposited into the bank account.




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Example #3

       We believe this customer is structuring to avoid CTR filing.

Comments:

The bank does not provide any beneficial information in the narrative. It fails to relate the types
of transactions (cash-in or cash-out), the amounts and dates, background information on the
customer, source or dispersal of funds in customer’s account, or other information to support the
statement provided in the narrative.




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Examples of SARs Filed by
Money Services Businesses (SAR-MSBs)

Sufficient and complete SAR-MSB Narratives

Example #1

     This SAR is being filed on three suspects who purchased money orders
     in a manner to circumvent federal identification and recording
     requirements and engaged in suspicious money order transactions.

     On May 1, 2003, two male customers came into the North City store
     location of XYS Money Orders Express and attempted to purchase a total
     of $7,000 in money orders. Prior to seeing a clerk, both customers stood
     in line and were observed conversing as if they worked with each other.
     Both customers went to different clerks and each attempted to purchase
     $3,500 in money orders with cash. When each customer was asked for
     identification per the $3,000-$10,000 recording requirement, the
     customers abruptly decided to lower their money order purchases below
     $3,000. One of the customers requested to purchase $2,500 in money
     orders while the other requested to purchase $2,900 in money orders.
     Customer One, at window 1, was issued money orders, serial numbers
     /amounts: 112345/$1,500 and 112346/$1,000. The second customer, at
     window 2, was issued money orders 122347/$1,500 and 122348 for
     $1,400. The two individuals left together in a white Ford van.

     Later that same day, the same suspects returned to the same store with a
     female companion. The female purchased $2,000 from window 2, serial
     numbers/amounts: 112412/$1,000 and 112413/$1,000.              The three
     suspects left the building together and drove away in a red Porsche.

     On May 2, 2003, the female suspect entered the South City store location
     and again purchased money orders totaling $2,500. The instruments
     were purchased from window 1, serial numbers/amounts: 113345/$1,500
     and 113346/$1,000. The customer was observed being picked up by the
     two previously referenced male suspects in a red Porsche.

     On May 2, 2003, the North City store contacted the South City store to
     advise them that two money orders, #112345 and 113345, purchased the
     day before at the South City and North City stores were being used to
     purchase six $500 international money orders totaling $3,000, #1125451,
     #1125452, #1125453, #1125454, #1125455, and #1125456 by two male
     customers.




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Comments:

This narrative provides a complete summary of suspect money order purchases between two
branches of a single money order seller. It provides the number of suspects involved, the
interaction between those suspects, and the manner in which the money orders were purchased,
including the serial numbers and respective denominations of the money orders. In addition, the
narrative identifies communication between two MSB business locations on the possible layering
of money orders used to purchase international money orders, perhaps to further complicate any
possible audit trail of the original transaction.


Example #2

       For at least a year, beginning on May 20, 2002, two customers, John Doe
       and his son, Bob, have been using our money transmitter service to send
       large amounts of money (in cash) to receivers named Jane Smith and
       Mary Smith located in Antigua. Funds are sent to the XYZ Caribbean
       Money Center in St. Johns, Antigua. The amount of money presented
       each time by John and/or Bob Doe is usually $5000 and the transmittals
       are sent bi-weekly. During one particular incident earlier this month, on
       June 12, 2003, John Doe attempted to send $10,000 without proper
       identification. We refused to send the funds and Mr. Doe left the
       premises. He returned later in the afternoon with identification but only
       sent $5000. All incidents / transactions have occurred at our store in
       Anytown, IL. The office has documentation of the driver’s licenses of both
       customers. Suspicion lies in the Does’ occupation (lawyers), and the
       amount of money leading me to suspect possible tax evasion. Records
       related to the money transmittals are maintained in our store in Anytown.

Comments:

This narrative provides enough details of the MSB customers’ frequent suspicious money
transmittals to support the purpose of the SAR. Also, the beneficiary information, including
beneficiary names and location, was included. The narrative identified the suspects by name and
occupation and related that records, including driver’s license information, were retained at the
MSB business location.




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Insufficient or incomplete SAR-MSB Narratives

Example #1

       Money orders were purchased on 12-19-02 to Smith Corporation in the
       amount of $6,500.00.

Comments:

No explanation is given as to why the MSB considers this activity suspicious. The filer does not
indicate if money orders were purchased with cash. The filer fails to provide any information
about the purchaser or nature of the business and if this activity was normal or unusual for the
purchaser or business.


Example #2
       Any further transactions sent by this sender will be kept on file. We will
       not be sending a report for every transaction. Thank you.

Comments:

The narrative only provides a reference to an unknown subject -“this sender,”-- and fails to
identify a possible violation. It gives no information on the amounts of the money transmittals or
the beneficiary of the funds. The only value the narrative provides is to alert the reader that the
MSB may be violating BSA regulations by not filing future SARs on additional suspicious
activity that might be conducted by the subject.




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Examples of SARs Filed by
Broker-Dealers (SAR-SFs)

Sufficient and Complete SAR-SF Narratives

Example #1

       On November 15, 2002, ABC Brokerage Firm, Office of General Counsel,
       filed a suspicious activity report for Jane Doe, account number 88112233.
       In summary, the prior submission reported that during the period of
       September 9, 2002 through October 1, 2002, Ms. Doe sent six wire
       transfers for amounts just under $10,000 each to her business account in
       Mexico.

       After ABC Brokerage Firm management advised the client that they
       would no longer accept such wire transfer instructions, the client began
       cashing checks drawn on her ABC Brokerage Firm account at casas de
       cambio in Mexico. Specifically, on December 17 and 18, 2002, the client
       cashed three checks made payable to a casa de cambio for an aggregate
       total of $19,500. When asked the reason for preparing and cashing these
       checks in this manner, Ms. Doe claimed, in substance, that she did not
       want to fill out the paperwork required by Mexican law for cash
       transactions of U.S. $10,000 or more.

       The account has been closed. Primary federal regulator – SEC

Comments:

The narrative provides information concerning a previously filed SAR. It also describes the
suspect activity and actions taken by the broker-dealer.


Example # 2

       Between November 1999 and September 2001, John Doe opened three
       accounts at our brokerage firm’s branch office in Any City, NY. Mr. Doe
       was either the joint account holder or had power of attorney on the
       following accounts: CS 12345 in the name of Susie Smith; CS 34567 in
       the name of Jane Jones; and CS 67891 in the name of Joan Brown and
       John Doe. At the time he opened the accounts, Mr. Doe stated that he
       owned an antique shop in Any City. When asked about the reason for the
       joint accounts, Mr. Doe stated that he was trying to assist various friends
       and relatives with their asset management. Mr. Doe further advised a



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representative of our investment firm that Susie Smith was his common-
law wife, Joan Brown was his cousin, and Jane Jones was his friend.
In addition to some securities trading, from February 2000 through
November 2002, accounts CS 12345, CS 34567 and CS 67891 had total
deposits of $923,709 and total withdrawals of $723,445. The accounts
were funded in large part by personal checks issued on an account at
XYZ Bank in the name of S. Smith, account number 9876543. The
majority of the withdrawals from the three accounts consisted of checks
made payable to 'cash' and endorsed by Mr. Doe and/or the other
account holders.
On multiple occasions, Mr. Doe went to the Any City Branch office with
checks from Ms. Smith’s XYZ Bank account, in which the payee and
amount of the checks were left blank. Mr. Doe then instructed his
financial advisor as to the amount and payee of the checks. The financial
advisor filled out those portions of the checks and deposited the checks
on behalf of Mr. Doe into the appropriate brokerage account. When
recently asked about the checking activity in the three accounts by a
representative of our brokerage firm, Mr. Doe stated that the funds in the
three accounts belonged to him and the withdrawals were made to cover
his living expenses. Mr. Doe did not explain why he did not withdraw the
cash directly from the XYZ Bank account.
A series of four checks were issued from account number CS 12345 on
July 20, 2002, July 22, 2002, July 23, 2002 and July 25, 2002 in the
amount of $8,000 each and were made payable to 'Michael Mouse, ESQ.'
When asked about the checks by a representative of our brokerage firm,
Mr. Doe stated that he owed money to Mr. Mouse but did not offer an
explanation as to the reason the checks were issued several days apart.
In November 2002, Mr. Doe deposited into brokerage account CS 67891
four checks each in the amount of $5,000. The checks were dated
November 6, 2002, November 7, 2002, November 8, 2002 and November
12, 2002, and were all drawn on an account at ABC Bank in the name of
Daffine Duck. When asked about the checks by a brokerage firm
representative, Mr. Doe stated that Ms. Duck is a fellow antique store
owner who recently purchased a home. Mr. Doe added that he was
advised that ABC Bank would not clear checks quickly if the total amount
of checks for one day exceeded $5,000. The financial advisor filled out
the payee and amount of the checks.
Our brokerage firm has restricted the accounts from any further activity
and is the process of closing them. The financial advisor, Elmer Fudd,
was terminated from the firm on November 29, 2002.
This SAR is filed due to the manner in which Mr. Doe handled
transactions through the three brokerage accounts, the volume of funds in




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       and out, especially the checks in July 2002 and the deposits in November
       2002, in amounts that indicate possible structuring. All documentation
       related to this matter is retained in our firm’s compliance office in Any
       City.

Comments:

This narrative answers the 5 “W’s” (who?, what?, when?, where?, why?) of information by
providing the names of individuals involved in the suspicious activity, the types of transactions
and instruments involved, the time period and some specific dates of the activity, why the
broker-dealer reported the customer, and the manner in which the activity was conducted. The
planned action by the firm for the involved customers and accounts is stated. The narrative
identifies where supporting documentation is maintained.




Insufficient or incomplete SAR-SF Narrative

Example # 1

       Account was opened in 2002. Assets were transferred in by wire. 50
       checks for $250 were deposited, securities were liquidated and money
       was paid out in May 2003.

Comments:

This narrative provides no information to support the reason the broker-dealer submitted the
SAR. Although some general transaction information is included, it fails to provide dates or
amounts of the incoming credits to the account, i.e., the dates, amounts, originator, and source of
the wire transfers, the issuer or issuers of the 50 checks, and the beneficiary of the funds closing
the account in May. Also, no information is given concerning the owner of the account.




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Examples of SARs Filed By
Casinos and Card Clubs (SAR-Cs)

Sufficient and Complete SAR-C Narratives

Example #1

     A SAR-C dated 11/03/2002 was previously filed on John Doe because of
     excessive wire transfers and minimal gambling activities.           This
     supplemental report details recent suspect activities in which John Doe
     has engaged at Bob’s Casino with other associates, Jack Doe and Jim
     Doe, which may indicate possible money laundering. The SAR-C is being
     filed based on numerous suspicious factors: 1. John Doe’s excessive wire
     transfer activity; 2. John Doe’s association with other players who are
     identified by the casino as having excessive incoming wires used to
     purchase chips; 3. Pass off of chips by Jack and Jim Doe to John Doe
     that are cashed out and deposited back into John Doe’s account; and 4.
     Surveillance of Doe and associates, which indicate minimal play by all
     parties.

     Specifically, the following wire transfers and patterns appeared
     suspicious. Between 10/12/2002 through 1/06/2003, John Doe has
     transacted wire transfers totaling $73,850 to Jane Doe, ABC Bank,
     account #12345678. The source of these funds was cashed-in chips.
     During the same time period, Jack Doe received four incoming wire
     transactions totaling $30,000 from Albert Doe, Bank of Good Fortune,
     New York, account #76543210. Jim Doe also received $40,000 from
     Albert Doe, Bank of Good Fortune, New York, account #765463210.
     Cash was taken from Jack and Jim Does’ accounts for the purchase of
     chips. On five occasions as follows all three subjects were observed by
     Bob’s Casino security playing black jack together at the casino:
     10/12/2002, 10/20/2002, 11/02/2002, 11/03/2002, 12/17/2002 and
     1/06/2003. Prior to each visit, Jack and Jim Doe receive wire transfers
     from Arnold Doe, which were used to purchase chips in increments of
     $6,000 to $8,000. John Doe purchased chips using a smaller balance
     maintained on his account, and was usually between $3,000 to $4,000.
     The black jack pit supervisor indicated each of the players did not
     extensively play but each took losses when they played between $300 to
     $500 each time they visited. The black jack supervisor has observed
     John Doe receiving chips from Jack and Jim Doe during some of their
     visits. The casino’s surveillance of the subjects also confirmed observing
     the same type of activity between the patrons. John Doe normally
     deposited $14,000 to $17,000 in chips that he identified as winnings to pit
     clerks. Funds were usually wire transferred to Jane Doe on the day after
     John Doe visited the casino.


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       This matter has been referred to the State Gaming Commission and State
       Police. The investigation is ongoing.

Comments:

The narrative provides a detailed description of the suspicious activity and acknowledgement
that a previous SAR-C was filed on the suspects. The conclusion of the narrative provides a
clear disposition of the case in describing what the casino has done and is continuing to do in
tracking the suspicious activities of the suspects.


Example #2

       On June 27, 2003, Jane Smith came up to the third main cage and
       cashed out $5,000 in chips. She proceeded to hold purple chips (looked
       to be about $5,200) stating that she was going to keep those chips until
       later. While waiting in line, Ms. Smith was talking to another patron about
       the currency transaction reporting process and basically telling him how
       to avoid a CTR. She was explaining how the cage, table games, and
       slots compare their amounts and fill out a CTR when someone gets over
       $10,000. Ms. Smith told the other patron that’s why she pulls some of her
       chips back so she will not have to pay taxes. She and the other
       gentleman then walked out together.

       Ms. Smith has visited our casino over the last month, usually once a
       week. Her winnings were minimal until last week when on June 20, 2003
       she cashed out $5,000 in chips one day. She returned the following day
       and cashed out an additional $5,000 in chips. We have maintained a
       copy of Ms. Smith’s winnings over the last month and also a copy of her
       driver’s license.

       Today, Ms. Smith was informed that she was barred from our casino after
       she was overheard instructing another patron on how to avoid a CTR.

Comments:

The casino provides specific information in the narrative related to the actions by its patron,
including dates and amounts of her transactions. It also includes her comments to other persons,
which indicate her knowledge of the BSA CTR requirements and supports evidence of her own
structuring efforts to evade these requirements.




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Insufficient or incomplete SAR-C Narrative

Example #1
       It appears that John Doe may have circumvented currency reporting
       procedures.

Comments:

The casino fails to provide any information to support this statement.




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